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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                              §
                                                    §
HOUTEX BUILDERS, LLC, et al.,                       §           Case No. 18-34658
                                                    §           Chapter 11
                 DEBTORS.                           §
                                                    §

DEBTOR’S MOTION, PURSUANT TO BANKRUPTCY CODE SECTIONS 105(A) AND
  363, AND BANKRUPTCY RULES 2002, AND 6004 FOR ENTRY OF AN ORDER
  (A) APPROVING EARNEST MONEY CONTRACT, (B) AUTHORIZING SALE
      FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND
         OTHER INTERESTS, AND (C) GRANTING RELATED RELIEF

         IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
         WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS
         PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU
         MUST FILE YOUR RESPONSE WITH THE CLERK OF THE BANKRUPTCY
         COURT WITHIN TWENTY-ONE (21) DAYS FROM THE DATE YOU WERE
         SERVED WITH THIS PLEADING. YOU MUST SERVE A COPY OF YOUR
         RESPONSE ON THE PERSON WHO SENT YOU THE NOTICE;
         OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
         UNOPPOSED AND GRANT THE RELIEF REQUESTED.

TO THE HONORABLE JUDGE NORMAN, UNITED STATES BANKRUPTCY JUDGE:

         HOUTEX Builders, LLC (the “Debtor”) files this Motion, pursuant to Bankruptcy Code Sections

105(a) and 363, and Bankruptcy Rules 2002 and 6004, for Entry of: Order (A) Approving Earnest Money

Contract, (B) Authorizing Sale Free and Clear of All Liens, Claims, Encumbrances, and Other Interests, and

(C) Granting Related Relief (the “Motion”). In support of the Motion, the Debtor respectfully submits

the following:

                                  JURISDICTION AND VENUE

         1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this Court pursuant to 28 U.S.C.

§§ 1408 and 1409. The statutory predicates for the relief sought herein are §§ 105(a) and 363(b), (f),


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and (m) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002 and 6004 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                         BACKGROUND

     A.        The Debtor’s Bankruptcy Case

          2.     On August 23, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code, with the United States Bankruptcy Court for the

Southern District of Texas, Houston Division (the “Bankruptcy Court”).

          3.     The Debtor continues to administer its assets as a debtor-in-possession pursuant to

sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in the

Debtor’s bankruptcy case.

          4.     The purpose of the Debtor filing chapter 11 is to monetize the Debtor’s assets

(including real property, improvements and fixtures located thereon, and all rights, privileges and

appurtenances thereto), liquidating claims through the claims objection process and, if sufficient

funds exist, confirming a liquidating plan under the Bankruptcy Code.

     B.        Prepetition Loans and Liens

          5.     Prior to the Petition Date, the Debtor executed certain promissory notes made

payable to Spirit of Texas Bank, ssb (the “Prepetition Lender”). On or about July 3, 2014, the

Debtor and the Prepetition Lender entered into a Real Estate Balloon Promissory Note (the

“Construction Loan Agreement”) whereby, inter alia, the Prepetition Lender made a loan to the

Debtor in the original principal amount of $2,605,250.00. As of the Petition Date, the outstanding

principal amount due under the Construction Loan was not less than an amount equal to

approximately $2,153,822.00. The indebtedness evidenced by the Construction Loan Agreement is

secured by a certain first-priority Construction Deed of Trust, Security Agreement and Financing

Statement (as amended, the “Deed of Trust”), executed by the Debtor for the benefit of the
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Prepetition Lender. The Deed of Trust encumbers the real property known as 3 Thornblade Circle,

The Woodlands, Texas 77389 (the “Property”). The Prepetition Lender perfected its security interest

in the Property by filing a Deed of Trust on July 7, 2014 (County Clerk File No. 20140295338).

Pursuant to the terms of the Deed of Trust, any additional lending from the Prepetition Lender to

the Debtor is secured by the Deed of Trust.

          6.     On or about October 21, 2015, the Debtor and the Prepetition Lender entered into

certain Business Loan Agreement (the “Business Loan Agreement”) whereby, inter alia, the

Prepetition Lender made a loan to the Debtor in the original principal amount of $500,000.00 (the

“Business Loan”). The Business Loan is evidenced by a Promissory Note made by the Debtor and

payable to the Prepetition Lender in the original principal amount of $500,000.00. As of the Petition

Date, the outstanding principal amount due under the 2014 Promissory Note was not less than an

amount equal to approximately $481,271.54.

          7.     The Prepetition Lender has made additional loans to the Debtor that are also

secured by the Deed of Trust lien.

     C.        The Prepetition Marketing Process and the Earnest Money Contract

          8.     In an effort to market the house to potential buyers, the Debtor engaged the

professional real estate brokerage services of Aaron Harris of RE/MAX Carlton Woods. On July

11, 2018, the Debtor and Mr. Harris entered into a formal Residential Real Estate Listing Agreement

(the “Listing Agreement”) in connection with the listing and marketing of the Property. Pursuant to

the Listing Agreement, Mr. Harris was appointed as the Debtor’s sole and exclusive real estate agent

and was granted the exclusive right to sell the Property. In connection with the marketing efforts

under the Listing Agreement, Mr. Harris held numerous open houses to solicit interest in the

Property from potential buyers. Mr. Harris also engaged in marketing efforts on the Debtor’s behalf

by undertaking at least fourteen individually scheduled showings of the Property to prospective
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buyers. Mr. Harris also engaged in online marketing for Property on the Debtor’s behalf by

publishing on various websites selected information and photographs of the property.                     In

connection with these efforts to market the Property to prospective buyers, the Debtor undertook

an analysis of comparable properties in the area to obtain a listing price for the Property. These

marketing efforts yield various informal discussions with prospective buyers regarding the sale of the

Property.

        9.      On July 12, 2018, the Debtor executed a certain Earnest Money Contract with Mark

D. Dufresne and Caroline Dufresne (the “Buyers”) for the purchase of the Property. The Debtor

seeks to have the Bankruptcy Court approve the Earnest Money Contract (defined below) and

authorize the Debtor to consummate the sale contemplated therein.

                                       RELIEF REQUESTED

        10.     By this Motion, the Debtor seeks the entry of an order in the form attached hereto

(the “Sale Order”) granting the Debtor the authority to sell the Property, which is defined and

described in further detail in the Earnest Money Contract (the “Earnest Money Contract”), which is

attached to this Motion as Exhibit A. The Debtor believes that the procedures proposed herein

with respect to the sale of the Property (the “Sale”) are the best way to maximize the value of these

assets for the Debtor’s estate and for its creditors and stakeholders under the circumstances.

        11.     The Sale Order provides for the Sale of the Property free and clear of (i) all liens

relating to, accruing, or arising any time prior to the closing date, including, without limitation, any

such liens that purport to give to any party a right of setoff or recoupment against, or a right or

option to effect any forfeiture, modification, profit sharing interest, right of first refusal, purchase, or

repurchase right or option, or termination of, the Debtor’s or the Buyers’ interests in the Property,

or any similar rights, (with such liens attaching to the net cash proceeds of the sale of the Property

ultimately attributable to the Property against which such liens are asserted with the same validity,

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enforceability, priority, and force and effect as they had against the Property or the proceeds as of

the Petition Date) and (ii) all debts arising under, relating to, or in connection with any act of the

Debtor or claims (as that term is defined in § 101(5) of the Bankruptcy Code), liabilities, obligations,

demands, guaranties, options, rights, contractual commitments, restrictions, interests, and matters of

any kind and nature, whether arising prior to or subsequent to the commencement of this case, and

whether imposed by agreement, understanding, law, equity or otherwise relating to, or accruing or

arising any time prior to, the Closing Date (collectively in this clause (ii), the “Claims” and together

with the liens, the “Claims and Interests”), with the exception of any Permitted Exceptions, as

defined in Exhibit B to the Sale Order, to the Buyers.

                                         BASIS FOR RELIEF

    A.         Sale of the Property is An Exercise of the Debtor’s Reasonable Business
               Judgment

         12.      Section 363(b)(1) of the Bankruptcy Code provides: “[t]he Trustee, after notice and a

hearing, may use, sell, or lease, other than in the ordinary course of business, property of the estate.”

Section 105(a) of the Bankruptcy Code provides in relevant part: “The Court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

         13.      Selling the Property to the Buyers is the most efficient way to maximize values for

the Debtor’s estate. First, selling to the Buyers will allow the Debtor to forego the additional

expenses associated with the maintenance of the property. This would allow the Debtor to avoid

expenses associated with basic maintenance, grounds keeping and necessary utilities for the

Property. Second, the Debtor believes that the Sales Price (as defined in the Earnest Money

Contract) is reasonable considering the market conditions.           Third, the Debtor has spent a

considerable amount of time and resources negotiating the Earnest Money Contract, which is the

product of good faith, arm’s-length negotiations with respect to the price and other terms of the sale


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of the Property between the Debtor and the Buyers.

         14.      Thus, the Debtor has determined, in the exercise of its sound business judgment,

that the sale of the Property to the Buyers is appropriate and in the best interests of its estate and

creditors. The sale of the Property to the Buyers will afford the Debtor’s estate an opportunity to

maximize the recoveries to creditors. Accordingly, the Debtor requests that the Court approve the

proposed procedures for sales of the Property to the Buyers.

    B.         The Buyers Should Be Granted the Protections of Section 363(m) of the
               Bankruptcy Code

         15.      The Debtor also maintains that the Buyers should be entitled to the protections

afforded by Bankruptcy Code § 363(m). Specifically, Bankruptcy Code § 363(m) provides that:

                  [t]he reversal or modification on appeal of an authorization under subsection
                  (b) or (c) of this section of a sale or lease of property does not affect the
                  validity of a sale or lease under such authorization to an entity that
                  purchased or leased such property in good faith, whether or not such entity
                  knew of the pendency of the appeal, unless such authorization and such sale
                  or lease were stayed pending appeal.

    11 U.S.C. § 363(m).

         16.      While the Bankruptcy Code does not define “good faith,” “[t]he requirement that a

purchaser act in good faith . . . speaks to the integrity of his conduct in the course of the sale

proceedings. Typically, the misconduct that would destroy a purchaser’s good faith status at a

judicial sale involves fraud, collusion between the purchaser and other bidders or the trustee, or an

attempt to take grossly unfair advantage of other bidders.” In re Abbotts Dairies of Pa., Inc., 788 F.2d

143, 147 (3d Cir. 1986) (citations omitted); see generally Marin v. Coated Sales, Inc. (In re Coated Sales, Inc.),

No. 89-3704 (KMW), 1990 WL 212899 (S.D.N.Y. Dec. 13, 1990) (holding that a party, to show lack

of good faith, must demonstrate “fraud, collusion, or an attempt to take grossly unfair advantage of

other bidders”); see also In re Pisces Leasing Corp., 66 B.R. 671, 673 (E.D.N.Y. 1986) (examining facts of

each case, concentrating on “integrity of [an actor’s] conduct during the sale proceedings” (quoting

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In re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)).

         17.      The Debtor has spent a considerable amount of time and resources negotiating the

Earnest Money Contract at arm’s length, with give and take on both sides.                   Under these

circumstances, this Court should find in the order approving the sale of the Property that the Buyers

are entitled to all of the protections of Bankruptcy Code Section 363(m).

    C.         Sale of the Property Should Be Free and Clear of Claims and Interests

         18.      Pursuant to § 363(f) of the Bankruptcy Code, the Debtor seeks authority to sell and

transfer the Property to the Buyers free and clear of all Claims and Interests, except for the

Permitted Exceptions (as such term is defined in the Sale Order), with such Claims and Interests to

attach to the proceeds of the sale of the Property, subject to any rights and defenses of the Debtor

and other parties-in-interest with respect thereto. Section 363(f) of the Bankruptcy Code provides

that:

               The trustee may sell property under subsection (b) or (c) of this section free
               and clear of any interest in such property of an entity other than the estate,
               only if –

                  (1) applicable nonbankruptcy law permits sale of such property free and
                      clear of such interest;

                  (2) such entity consents;

                  (3) such interest is a lien and the price at which such property is to be
                      sold is greater than the aggregate value of all liens on such property;

                  (4) such interest is in bona fide dispute; or

                  (5) such entity could be compelled, in a legal or equitable proceeding, to
                      accept a money satisfaction of such interest.

11 U.S.C. § 363(f). See also In re Elliot, 94 B.R. 343, 345 (E.D. Pa. 1988) (holding that because

§ 363(f) is written in the disjunctive, a court may approve a sale “free and clear” if at least one of

the requirements is met).


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         19.      A sale free and clear of all Claims and Interests is necessary to maximize the value of

the Property. A sale subject to Claims and Interests would result in a lower purchase price and be of

substantially less benefit to the Debtor’s estate.      A sale free and clear of liens is particularly

appropriate under the circumstances because any lien in, to, or against the Property that exists

immediately prior to the closing of any sale will attach to the net sale proceeds attributable to such

Property with the same validity, priority, force and effect as it had at such time, subject to the rights

and defenses of the Debtor or any party-in-interest. The Debtor submits that holders of liens will

be adequately protected by the availability of the net cash proceeds of the Sale to satisfy their liens.

Thus, the proposed sale satisfies § 363(f) of the Bankruptcy Code. Moreover, any holder of a claim

or interest that receives notice of the sale and which fails to object to the sale of the Property free

and clear of Claims and Interests should be deemed to consent to the sale, thereby complying with

§ 363(f)(2) of the Bankruptcy Code.

    D.         Notice of the Proposed Sale is Reasonable Under the Circumstances

         20.      A debtor is required to notify its creditors of any proposed sale of its assets,

including a disclosure of the terms and conditions of the sale and the deadline for filing any

objections. The Debtor submits that the notice of this Motion fully complies with Bankruptcy Rules

2002 and 6004(a) and includes information necessary to enable interested parties to either submit an

alternative proposal for the purchase of the Property or object to the sale of the Property. The

Debtor continues to incur costs associated with preserving the value of the Property until

consummation of the sale. In order to yield the greatest possible return for the benefit of creditors

and to minimize potential administrative expenses, the Debtor believes that the proposed sale is not

only reasonable, but is warranted and necessary in light of the nature of Debtor’s business.

         21.      Accordingly, the Debtor submits that the notice to be provided is reasonable and

appropriate and will be adequate to ensure that all interested parties have the opportunity to object
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to the proposed Sale of the Property.

    E.         Waiver of Automatic Fourteen-Day Stay Under Bankruptcy Rule 6004(h)

         1.       Pursuant to Bankruptcy Rule 6004(h), unless the Court orders otherwise, all orders

authorizing the sale of property pursuant to § 363 of the Bankruptcy Code are automatically stayed

for fourteen (14) days after entry of the order. The purpose of Bankruptcy Rule 6004(h) is to

provide sufficient time for an objecting party to request a stay pending appeal before the order can

be implemented. See Advisory Committee Notes to Fed. R. Bankr. P. 6004(h).

         22.      Although Bankruptcy Rule 6004(h) and the Advisory Committee Notes are silent as

to when a court should “order otherwise” and eliminate or reduce the 14-day stay period,

commentators agree that the 14-day stay period should be eliminated to allow a sale or other

transaction to close immediately where there has been no objection to the procedure. See generally 10

Collier on Bankruptcy ¶ 6004.09 (15th ed. 1999). Furthermore, if an objection is filed and overruled,

and the objecting party informs the court of its intent to appeal, the stay may be reduced to the

amount of time necessary to file such appeal. Id.

         23.      Because of the potentially diminishing value of the Property, the Debtor must close

this sale promptly after all closing conditions have been met or waived. Thus, waiver of any

applicable stays is appropriate in this circumstance.

    F.         Distribution of Net Sales Proceeds to the Prepetition Lender

         24.      Pursuant to § 363(e) of the Bankruptcy Code, “on request of an entity that has an

interest in property used, sold, or leased, or proposed to be used, sold or leased, by the trustee, the

court, with or without a hearing, shall prohibit or condition such use, sale or lease as is necessary to

provide adequate protection of such interest.” The Debtor submits that the net proceeds from the

Sale should be indefeasibly paid to the Prepetition Lender. This condition to the Sale is necessary to

provide adequate protection of the Prepetition Lender’s interest in the Property as evidenced by its
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valid, perfected, enforceable, and unavoidable first-priority Deed of Trust.

       25.     Because the Prepetition Lender is has an undisputed valid, perfected, enforceable

and unavoidable first-priority lien on the Property, the net proceeds from the Sale should be

distributed to the Prepetition Lender upon consummation of the Sale. In re San Jacinto Glass Indus.,

Inc., 93 B.R. 934, 944 (Bankr. S.D. Tex. 1988) (permitting the distribution of pre-confirmation sale

proceeds of the debtor’s property to a party holding an undisputed secured claim to them).

Accordingly, the indefeasible payment to the Prepetition Lender of the net proceeds from the Sale is

appropriate.

                                          CONCLUSION

       WHEREFORE, the Debtor requests that this Court enter the Order, in substantially the

form attached hereto, (a) approving the Sale of the Property free and clear of all liens,

encumbrances, claims and other interests; and (b) granting such other and further relief as it deems

just and proper.




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Dated: September 13, 2018                             Respectfully submitted,

                                                     DIAMOND McCARTHY LLP

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                                                     Proposed Counsel to Debtor
                                                     and Debtor-In-Possession



                                 CERTIFICATE OF SERVICE

        I certify that on September 13, 2018, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record and caused a copy to be served via U.S. First Class Mail to each of the individuals on the

attached service list.

Dated: September 13, 2018


                                                     /s/ Lisa M. Ciaccio
                                                     Lisa M. Ciaccio




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